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AO 106 (Rev. 04/10) Application for a Search Warrant

                                                                                                                             8/23/2021
                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Kansas                                           AA

             In the Matter of the Search of
                                                                         )
         (Briefly describe the property to be searched                   )
          or identify the person by name and address)
                                                                         )           Case No. 21-6143-GEB
           the premises and devices located at                           )
         1016 South 15th Street, Parsons, Kansas                         )
           as further described in Attachment A                          )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government. request a search wairnnt and state under
penalty of perjury that J have reason to believe that on the following person or property (ident{fy the person or describe the
property to be searched and give its location):

  See Attachment A
located in the                                    District of                Kansas            , there is now concealed (identijj· the
person or describe the property tu be seized):

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or mo,·eJ:
               ir'evidence of a crime;
               r,r'contraband, fruits of crime, or other items illegally possessed;
                 IYJ,roperty designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                         Offense Description
        18 U.S.C. 2251                             Production of Child Pornography
        18 U.S.C. 2252/2252A                       Offenses relating to the Possession/ReceipUDistribution of Child Pornography

          The application is based on these facts:
        See Attached Affidavit of Probable Cause.

          '1'f Continued on the attached sheet.
          0 Delayed notice of           days (give exact ending date if more than 30 days:                             ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                       Q;ka,�-,
                                                                                           John V. Ferreira, SA, HSI
                                                                                              Printed name and title

Sworn to before me and signed in my presence.

Date:     8/23/21
                                                                                                Judge's signature

City and state: Wichita, KS                                                  The Honorable Gwynne E. Birze_r, US Magistrate Judge
                                                                                              Primed name and title
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                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I, John V. Ferreira, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        I.     I have been employed as a Special Agent ("SA") of the U.S. Department of

Homeland Security, Homeland Security Investigations ("HSI") since 2004 and am currently

assigned to the Kansas Internet Crimes Against Children Task Force (ICAC). Previous to my

employment with HSI, I was a state trooper/detective with the Arizona Department of Public

Safety for nine (9) years. While employed by HSI, I have investigated federal criminal violations

related to high technology or cybercrime, child exploitation, and child pornography. I have gained

experience through training and everyday work relating to conducting these types of

investigations. I have received training in the area of child pornography and child exploitation and

have had the opportunity to observe and review numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in all forms of media including computer media. Moreover, I am a

federal law enforcement officer who is engaged in enforcing the criminal laws, including 18 U.S.C.

§§ 2251, 2252, and 2252A, and I am authorized by law to request a search warrant.

       2.      I make this affidavit in support of an application for a warrant to search the

PREMISES known as 1016 South 15th Street, Parsons, Kansas, hereinafter "RESIDENCE,"

further described in Attachment A, for the things described in Attachment B.

       3.      This affidavit is submitted in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant for the RESIDENCE specifically described in

Attachment A of this affidavit, including any electronic devices and the content of electronic

devices located therein, and any person located at the RESIDENCE, for contraband and evidence,
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fruits, and instrumentalities of violations of Title 18, United States Code, Sections 2251, 2252 and

2252A, which items are more specifically described in Attachment B ofthis Affidavit.

       4.      The statements in this affidavit are based in part on information provided by Kik,

Snapchat, the National Center for Missing and Exploited Children (NCMEC), and other law

enforcement    officers,   inclnding   Parsons    Police    Department,    and    Wichita    Police

Department/Sedgwick County Sheriff investigators, and on my review and investigation into this

matter. Because this affidavit is being submitted for the limited purpose of securing a search

warrant, I have not included each and every fact known to me concerning this investigation. I have

set forth only the facts that I believe are necessary to establish probable cause to believe that

contraband and evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§ 2251

(production of child pornography), 2252A(a)(2) (distribution/receipt of child pornography) and

2252A(a)(5)(B) (possession of child pornography) are presently located at the RESIDENCE

described in Attachment A.

                                       PROBABLE CAUSE

       I.      On about August 22, 2021, Kik submitted a CyberTipline Report to NCMEC

identifying user "dustymuffinl2" had uploaded 77 files, included depictions of prepubescent

children engaged in sex acts (described below). As part of its report, Kik provided account

information which included an associated email address of drstrom96@gmail.com.

       2.      As an example of the content reported by Kik, the user had uploaded a video file

(identified as d62c 12b8-l 25c-4f0e-abf6-cefl 307580f8.mp4, which depicted an adult male sticking

his penis into an infant's mouth.

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       3.      Another example was an image of a 4-5 year old boy seated next to an adult male

with the adult's penis exposed next to the boy's face, suggestive that the boy will be made to

perform oral sex. That image had been shared from the account 8 times between July 24 and

August 4, 2021. This image was later determined to be a child in the custody or control of Dustin

Strom, a resident of I 016 South 15th Street, Parsons, Kansas.

       4.      As part of its triage of the report, NCMEC conducted a search for other CyberTip

reports relating to "drstrom96" and found three prior reports: 84947557, 94203089, and 95382480.

       5.      Report 84947557 related to a Kik report on or about January 22, 2021, where Kik

identified user "bigbluedust" with email address drstrom96@gmail.com had uploaded 9 files of

apparent child pornography. Several of these files depicted prepubescent children engaged in oral

sex.

       6.      Report 94203089 related to a Snapchat report on or about July 2021, where

Snapchat identified user "dustrnuffin96" with email address drstrom96@gmail.com had uploaded

a file depicting a 41 second video of a prepubescent female under the age of six, with her mouth

around an adult's erect penis. She steps away from the male, removes her shorts, exposes her

genitals, turns and exposes her genitals and anus to the camera, and adult male hand grabs her

bottom to manipulate her further.

       7.      Report 95382480 related to a Snapchat report on or about July 14, 2021, where

Snapchat identified user "vikkingd" with email address drstrom96@gmail.com had uploaded a

file that Snapchat identified as apparent child pornography. The file depicted a movie of an adult

male subjecting a prepubescent female to anal penetration.

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       8.      NCMEC conducted a database check for the drstrom96@gmail.com account and

found it connected to Dustin Kenneth Strom in Parsons, Kansas.

       9.      NCMEC conducted a query of Facebook and found a public profile for Dustin

Strom in Parsons, Kansas. As noted by NCMEC personnel, "Please be advised the child seen on

this Facebook profile appears visually similar to the child seen the exploitative content. I have

saved a copy of this photo as Child Photo Facebook."

       10.     NCMEC also conducted a check of files reported to NCMEC to determine if they

had been seen before. NCMEC determined there were nine files of what appear to be "newly

produced" or "homemade" images. These included eight depictions, described as depicting

"prepubescent male child who looks to be in distress. The child appears to be leaning against a

possible adult male's leg. The possible adult male has his pants pulled down so his genitalia is

exposed to the child." An additional file depicted "a close up of a possible prepubescent male's

anus. An unknown individual's hand can be seen pulling on one of the child's butt cheeks and the

child appears to have slight bmising on his right butt cheek."

       11.     At noon on August 23. 2021, Det. Jennifer Wright of the Kansas Internet Crimes

against Children Task force was assigned the above set of related CyberTips. Det. Wright

undertakes her review of the materials and finds Dustin Strom's Facebook profile, with the

wallpaper image that includes a 4-5 year old boy. That boy appears to be the same as depicted in

the images reported by Kik.

       12.     Additional research into Dustin Strom revealed he was residing at 1016 South 15th

Street, Parsons, Kansas with a female, identified as T.S.

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        13.     HSI Analyst Cynthia Overcash located the Facebook profile for T.S., which has

photos publicly available. Det. Wright observed these photos included pictures of T.S., Dustin

Strom, the same boy from Dustin Strom's wallpaper, and all three together. Again, the boy appears

to be the same as depicted in the images reported by Kik.

        14.     Based on these content of the reported images and the images observed via

Facebook, as well as the connection of drstrom96@gmail.com to each of the accounts and its

connection to Dustin Kenneth Strom, I believe that probable cause exists to believe Dustin Kenneth

Strom is the operator of the Kik, Snapchat, and Gmail accounts discussed above, and that he has

engaged in the production, distribution, receipt, and possession of child pornography. Further, I

believe that evidence, described in Attachment B, will be found at his residence, described in

Attachment A.

              CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

        15.     From my training and experience, I know that individuals who are interested in the

sexual exploitation of children will often seek out other likeminded individuals, for the purposes

of normalizing their interest, discussing historical or planned child sexual abuse, and/or advertising

the trade of child pornography. In this instance, the operator of the above accounts appears to have

sought out likeminded individuals via social media applications for the purpose of trading and

obtaining child pornography.

        16.     From my training and experience, I know that individuals who are interested in the

sexual exploitation of children will frequently utilize digital devices to access the internet to seek,

obtain, and traffic in child pornography, and that the device(s) used by such individuals will retain

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evidence and artifacts of such activity. In this instance, the operator of the above accounts is relying

upon the same internet-based email address to create various social media accounts, which are all

accessible through at least one internet connected device. The device or devices is likely to retain

information regarding the operation of the account, as well as evidence of child pornography

activity. Moreover, I know these devices are likely to be kept near the user, and especially at their

residence.

         17.      I also know that individuals who are interested in the sexual exploitation of children

will protect and retain child pornography for long periods of time. 1 Typically, the individual will

keep the device(s) close-by, in part for immediate access for sexual gratification and to maintain

secure control over the contraband material. In this instance, the social media account connected

to the Gmail account reveal the user has repeatedly used social media accounts to distribute child

pornography, which first required having a source of child pornography. Moreover, some of the

pictures uploaded indicate that the user has either already produced or is otherwise creating images

to indicate "production" content will be available for trade.


1 See United States v. Shields, 458 F.3d 269,279 (3d Cir. 2006) (noting nine month delay in applying for search
warrant would not have suppo11ed staleness challenge due to context of child pornography offender behavior along
with evidence of continuing offenses); United States v. Schesso. 730 F.3d 1040 (9th Cir. 2013) (finding delay of20
months did not render probable cause stale in context of investigation); see also United States v. Allen, 625 F.3d
830, 842-43 (5th Cir.20 I 0) (holding that an 18-month delay between when defendant sent child pornography images
through a peer-to-peer networking site and issuance of a search warrant did not render the infom1ation stale); United
States i'. Morales-Aldahondo, 524 F ,3d 115. 117-19 (1 st Cir.2008) ( concluding that the passage of over three years
since the acquisition of infomiation that defendant's brother, who shared defendant's residence, had purchased access
to various child pornography websites, did not render that information stale).




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        18.    From my training and expenence, I know that individuals who engage in

communications with other individuals relating to the sexual exploitation of children will

frequently retain information about these contacts, which can be used later to obtain access to other

groups or forums relating to child pornography, or for exchanging additional child pornography.

In this instance, the user of the above accounts appears to be able to find child pornography, and

has done so over a period of several months, resulting in multiple uploads via social media.

        19.    Based on the conduct observed on Kik and Snapchat, and based on my observation

of child pornographer characteristics, I believe that the operator of the these accounts is the

individual associated with the drstrom96@gmail.com account, Dustin Kenneth Strom, and that he

evinces the qualities associated with child pornographers, outlined above. I expect the device(s)

used by Strom have previously (and will probably still contain, as discussed below) additional

child pornography, links to child pornography websites, or artifacts showing access to child

pornography. I further expect the device(s) used by or in the possession of the user will probably

contain evidence of communications, or attempts to communicate, with other individuals

interested in the sexual exploitation of children, i.e., child pornographers.

         COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       20.     As described above and in Attachment B, this application seeks permission to

search for evidence of the crimes under investigation that might be found at the RESIDENCE

(described in Attachment A). One form in which such evidence might be found is data stored on

a computer's hard drive or other storage media. Thus, the warrant applied for would authorize the



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seizure of computers and other electronic storage media for subsequent offsite examination and,

potentially, the copying of electronically stored information, all under Rule 41 (e)(2)(B).

       21.     Based on my knowledge, training, and experience, I know that computer files or

remnants of such files can be recovered months or even years after they have been downloaded

onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a

storage medium can be stored for years at little or no cost. Even when files have been deleted,

they can be recovered months or years later using forensic tools. This is so because when a person

"deletes" a file on a computer, the data contained in the file does not actually disappear; rather,

that data remains on the storage medium until it is overwritten by new data. Therefore, deleted

files, or remnants of deleted files, may reside in free space or slack space-that is, in space on the

storage medium that is not currently being used by an active file-for long periods of time before

they are overwritten. In addition, a computer's operating system may also keep a record of deleted

data in a "swap" or "recovery" file.

       22.     Wholly apart from user-generated files, computer storage media-in particular,

computers' internal hard drives-contain electronic evidence of how a computer has been used,

what it has been used for, and who has used it. To give a few examples, this forensic evidence can

take the form of operating system configurations, artifacts from operating system or application

operation, file system data structures, and virtual memory "swap" or paging files. Computer users

typically do not erase or delete this evidence, because special software is typically required for that

task. However, it is technically possible to delete this information.



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       23.       Similarly, files that have been viewed via the Internet are sometimes automatically

downloaded into a temporary Internet directory or "cache."

       24.      As further described in Attachment B, this application seeks permission to search

for devices which may have been used in the commission of the crimes under investigation, and

to examine those devices to locate: a) computer files that might serve as direct evidence of the

crimes described on the warrant, and b) forensic electronic evidence that establishes how

computers were used, the purpose of their use, who used them, and when.

       25.      Information stored within a computer and other electronic storage media may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. There is probable cause to believe

that this forensic electronic evidence (relating to the who, when, and how of the device's use) will

be on any storage medium in the RESIDENCE because:

             a. Data on the storage medium can provide evidence of a file that was once on the
                storage medium but has since been deleted or edited, or of a deleted portion of a
                file (such as a paragraph that has been deleted from a word processing file). Virtual
                memory paging systems can leave traces of information on the storage medium that
                show what tasks and processes were recently active. Web browsers, e-mail
                programs, and chat programs store configuration information on the storage
                medium that can reveal information such as online nicknames and passwords.
                Operating systems can record additional information, such as the attachment of
                peripherals, the attachment of USB flash storage devices or other external storage
                media, and the times the computer was in use. Computer file systems can record
                information about the dates files were created and the sequence in which they were
                created, although this information can later be falsified.

             b. Information stored within a computer or storage media (e.g., registry information,
                communications, images and movies, transactional information, records of session
                times and durations, internet history, and anti-virus, spyware, and malware
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               detection programs) can indicate who has used or controlled the computer or
               storage media. This "user attribution" evidence is analogous to the search for
               "indicia of occupancy" while executing a search warrant at a residence. The
               existence or absence of anti-virus, spyware, and malware detection programs may
               indicate whether the computer was remotely accessed, thus inculpating or
               exculpating the computer owner. Further, computer and storage media activity can
               indicate how and when the computer or storage media was accessed or used. For
               example, as described herein, computers typically contain infonnation that log:
               computer user account session times and durations, computer activity associated
               with user accounts, electronic storage media that connected with the computer, and
               the IP addresses through which the computer accessed networks and the internet.
               Such information allows investigators to understand the chronological context of
               computer or electronic storage media access, use, and events relating to the crime
               under investigation. Additionally, some information stored within a computer or
               electronic storage media may provide crucial evidence relating to the physical
               location of other evidence and the suspect. For example, images stored on a
               computer may both show a particular location and have geolocation information
               incorporated into its file data. Such file data typically also contains information
               indicating when the file or image was created. The existence of such image files,
               along with external device connection logs, may also indicate the presence of
               additional electronic storage media (e.g., a digital camera or cellular phone with an
               incorporated camera). The geographic and timeline information described herein
               may either inculpate or exculpate the computer user. Last, information stored
               within a computer may provide relevant insight into the computer user's state of
               mind as it relates to the offense under investigation. For example, information
               within the computer may indicate the owner's motive and intent to commit a crime
               (e.g., internet searches indicating criminal planning), or consciousness of guilt (e.g.,
               running a "wiping" program to destroy evidence on the computer or password
               protecting/encrypting such evidence in an effort to conceal it from law
               enforcement).

       26.     A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how computers

were used, the purpose of their use, who used them, and when. The process of identifying the exact

files, blocks, registry entries, logs, or other forms of forensic evidence on a storage medium that

are necessary to draw an accurate conclusion is a dynamic process. While it is possible to specify

in advance the records to be sought, computer evidence is not always data that can be merely
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reviewed by a review team and passed along to investigators. Whether data stored on a computer

is evidence may depend on other information stored on the computer and the application of

knowledge about how a computer behaves. Therefore, contextual information necessary to

understand other evidence also falls within the scope of the warrant.

       27.      Further, in finding evidence of how a computer was used, the purpose of its use,

                                                                                         not present
who used it, and when, sometimes it is necessary to establish that a particular thing is --

on a storage medium. For example, the presence or absence of counter-forensic programs or anti­

virus programs (and associated data) may be relevant to establishing the user's intent.

       28.      In most cases, a thorough search of a RESIDENCE for information that might be

stored on storage media often requires the seizure of the physical storage media and later off-site

review consistent with the warrant. In lieu of removing storage media from the RESIDENCE, it is

sometimes possible to make an image copy of storage media. Generally speaking, imaging is the

taking of a complete electronic picture of the computer's data, including all hidden sectors and

deleted files. Either seizure or imaging is often necessary to ensure the accuracy and completeness

of data recorded on the storage media, and to prevent the loss of the data either from accidental or

intentional destruction. This is true because of the following:

             a. The time required.for an examination. As noted above, not all evidence takes the
                form of documents and files that can be easily viewed on site. Analyzing evidence
                of how a computer has been used, what it has been used for, and who has used it
                requires considerable time, and taking that much time on RESIDENCE could be
                unreasonable. As explained above, because the warrant calls for forensic electronic
                evidence, it is exceedingly likely that it will be necessary to thoroughly examine
                storage media to obtain evidence. Storage media can store a large volume of
                information. Reviewing that information for things described in the warrant can
                take weeks or months, depending on the volume of data stored, and would be
                impractical and invasive to attempt on-site.
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             b. Technical requirements. Computers can be configured in several different ways,
                featuring a variety of different operating systems, application software, and
                configurations. This is true even for smartphone devices, which may require
                different forensic tools to access the content contained in the smartphone depending
                on the age or model of device. Therefore, it is likely that searching these computer
                devices will require tools or knowledge that might not be present on the search site.
                The vast array of computer hardware and software available makes it difficult to
                know before a search what tools or knowledge will be required to analyze the
                system and its data on the RESIDENCE. However, taking the storage media off­
                site and reviewing it in a controlled environment will allow its examination with
                the proper tools and knowledge.

             c. Variety offorms of electronic media. Records sought under this warrant could be
                stored in a variety of storage media formats that may require off-site reviewing with
                specialized forensic tools.

       29.      Nature of examination.       Based on the foregoing, and consistent with Rule

4l(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

       30.       Because at least two adults appear to share the RESIDENCE as a residence, it is

possible that the RESIDENCE will contain storage media that are predominantly used, and perhaps

owned, by persons who are not involved in the crimes under investigation. If it is nonetheless

determined that that it is possible that the things described in this warrant could be found on any

of those computers or storage media, the warrant applied for would permit the seizure and review

of those items as well.

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                                          CONCLUSION

        31.    I submit that this affidavit supports probable cause to believe that the RESIDENCE

located at 1016 South 15th Street, Parsons, Kansas, and described in Attachment A docs contain

evidence of violations of 18 U.S.C. § 2251, 2252 and 2252A and therefore respectfully request

that this Court issue a search warrant for the search of the premises and devices located at 1016

South 15th Street, Parsons, Kansas, being more specifically described in Attachment A which

incorporated by reference as if fully set forth herein, authorizing the seizure and search of the items

described in Attachment B herein.

                                                       Respectfully submitted,



                                                       J     . e e1r
                                                       Specia gent
                                                       Homeland Security Investigations
                                                              August 23
       Subscribed and sworn to before me, telephonically, on __________ , 2021.



       GWYNNE E. BTRZER
       UNITED STATES MAGISTRATE JUDGE




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                                       ATTACHMENT A

                                     Property to be searched

       The property to be searched are the premises and devices located at 1016 South 15th

Street, Parsons, Kansas, further described as follows:

       Blue with white trim, wood-sided residential structure single-story (with attic) structure,

       facing west with 1016 on the front of the house above the front steps.

       The following is a photo of the residence, from Google Maps Street View, from 2014.

       This is only meant to orientate the executing officers to the residence in relation to the

       street and neighboring property.
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                                        ATTACHMENT B
                                        Property to be seized

        1.       Any and all child pornography (as defined m 18 U.S.C. § 2256(8)), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), in

any fonnat or medium, including computer files, prints, negatives, drawings, and paintings.

        2.      Any and all child erotica, in any format or medium, including documents, writings,

and images or videos of children that do not qualify as child pornography but evince a sexual

interest in children.

        3.      Any and all documents, records, or correspondence, in any fonnat or medium,

pertaining to operation of, or communication with, the Kik, Snapchat, and Gmail accounts

described in the attached affidavit.

        4.      Any and all computer devices (including desktops, laptops, tablets, smartphones,

as well as the hardware, peripherals, software, computer related documentation, passwords and

data security devices, and storage devices), including the software or programs or applications

contained therein, that may be or are used to:

             a. produce, distribute, receive, possess or access child pornography or visual

                depictions of minors engaged in sexually explicit conduct;

             b. seek, obtain, store, or record inforrnation pertaining to the sexual exploitation of

                children or otherwise relate to an interest in child pornography, visual depictions of

                minors engaged in sexually explicit conduct, child erotica, or the sexual

                exploitation of children; and



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             c. communicate with any other person regarding child pornography, visual depictions

                of minors engaged in sexually explicit conduct, child erotica, or the sexual

                exploitation of children.

        5.      Any and all computer devices (including desktops, laptops, tablets, smartphones,

as well as the hardware, peripherals, software, computer related documentation, passwords and

data security devices, and storage devices), including the data or information on the device, which

may reveal indicia of ownership, access, or use of the account and websites described in the

attached affidavit.

       6.       Any and all notes, documents, records, correspondence, in any format and medium

(including, but not limited to, envelopes, letters, papers, diaries, manifestos, manuals, email

messages, chat logs and electronic messages, and handwritten notes) pertaining to child

pornography, visual depictions of minors engaged in sexually explicit conduct, child erotica, or

the sexual exploitation of children, and to include any and all data or records that may reveal

indicia of creation, use, or ownership of the notes, documents, records, or correspondence.

        7.      Any and all cameras, film, videotapes or other photographic equipment, which may

be used to contain, create or duplicate child pornography, visual depictions of minors engaged in

sexually explicit conduct, or child erotica.

       8.       Any and all documents, records, or correspondence, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files), pertaining to occupancy or ownership of the RESIDENCE

described above, including, but not limited to, rental or lease agreements, mortgage documents,

rental or lease payments, utility and telephone bills, mail envelopes, or addressed correspondence.
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       9.         Any and all records, documents, invoices and materials, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern any accounts with an Internet Service Provider.

           I 0.   Any and all records, documents, invoices and materials, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern online storage or other remote computer

storage, including, but not limited to, software used to access such online storage or remote

computer storage, user logs or archived data that show connection to such online storage or remote

computer storage, and user logins and passwords for such online storage or remote computer

storage.

           11.    Any and all records, documents, invoices and materials, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern encryption, deletion, or destruction of evidence.

           12.    Any and all visual depictions of minors that may assist in the identification of

minors depicted in images of child erotica or child pornography.

           13.    Any of the clothing and items visible in the image reported by Kik, referenced in

the attached affidavit of probable cause, and known to law enforcement.




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